

Salomon v United States Tennis Assn. (2021 NY Slip Op 01492)





Salomon v United States Tennis Assn.


2021 NY Slip Op 01492


Decided on March 11, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 11, 2021

Before: Webber, J.P., Kern, Scarpulla, Mendez, JJ. 


Index No. 153060/15 Appeal No. 13333&amp;M-3979 Case No. 2020-03357 

[*1]Kristen Salomon, Plaintiff-Appellant,
vUnited States Tennis Association et al., Defendants-Respondents.


Pollack Pollack Isaac &amp; DeCicco, LLP, New York (Brian J. Isaac of counsel), for appellant.
Goldberg Segalla LLP, Buffalo (Meghan M. Brown of counsel), for United States Tennis Association and United States Tennis Association National Tenant Center, Inc., respondents.
Shook Hardy &amp; Bacon, New York (Robb Denney of counsel), for Levy Restaurants, respondent.
Harris Beach PLLC, New York (Svetlana K. Ivy of counsel), for A&amp;A Maintenance &amp; Contracting, Inc., respondent.



Appeal from order, Supreme Court, New York County (Robert David Kalish, J.), entered January 29, 2020, which granted defendant Levy Restaurants' motion to, inter alia, compel plaintiff to appear for a further deposition to answer questions relating to brain imaging and a motor vehicle accident that post-dated her fall, and to provide authorizations for medical records related to the imaging and the accident, unanimously dismissed, without costs, as moot.
Plaintiff's appeal is moot since the deposition to which she objects has already been held, she has provided authorizations for the medical records at issue, and she made no attempt to maintain the status quo prior to this appeal (see Cuevas v 1738 Assoc., LLC, 111 AD3d 416, 416 [1st Dept 2013]; see generally Matter of Hearst Corp. v Clyne, 50 NY2d 707, 714-715 [1980]).M-3979 —	Kristen Salomon v United States
Tennis Association
Motion to dismiss appeal, granted.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 11, 2021








